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 18 U.S.C. 922(o): Transfer or possession of machinegun
 26 U.S.C. 5845(b): Definition of machinegun
 18 U.S.C. 921(a)(23): Definition of machinegun

        The definition of machinegun in the National Firearms Act and the Gun Control
 Act includes a part or parts that are designed and intended for use in converting a
 weapon into a machinegun. This language includes a device that, when activated by a
 single pull of the trigger, initiates an automatic firing cycle that continues until the finger
 is released or the ammunition supply is exhausted.

 ATF Rul. 2006-2

 The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) has been asked by
 several members of the firearms industry to classify devices that are exclusively designed
 to increase the rate of fire of a semiautomatic firearm. These devices, when attached to a
 firearm, result in the firearm discharging more than one shot with a single function of the
 trigger. ATF has been asked whether these devices fall within the definition of
 machinegun under the National Firearms Act (NFA) and Gun Control Act of 1968
 (GCA). As explained herein, these devices, once activated by a single pull of the trigger,
 initiate an automatic firing cycle which continues until either the finger is released or the
 ammunition supply is exhausted. Accordingly, these devices are properly classified as a
 part “designed and intended solely and exclusively, or combination of parts designed and
 intended, for use in converting a weapon into a machinegun” and therefore machineguns
 under the NFA and GCA.

 The National Firearms Act (NFA), 26 U.S.C. Chapter 53, defines the term “firearm” to
 include a machinegun. Section 5845(b) of the NFA defines “machinegun” as “any
 weapon which shoots, is designed to shoot, or can be readily restored to shoot,
 automatically more than one shot, without manual reloading, by a single function of the
 trigger. The term shall also include the frame or receiver of any such weapon, any part
 designed and intended solely and exclusively, or combination of parts designed and
 intended, for use in converting a weapon into a machinegun, and any combination of
 parts from which a machinegun can be assembled if such parts are in the possession or
 under the control of a person.” The Gun Control Act of 1968 (GCA), 18 U.S.C. Chapter
 44, defines machinegun identically to the NFA. 18 U.S.C. 921(a)(23). Pursuant to 18
 U.S.C. 922(o), machineguns manufactured on or after May 19, 1986, may only be




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 transferred to or possessed by Federal, State, and local government agencies for official
 use.

 ATF has examined several firearms accessory devices that are designed and intended to
 accelerate the rate of fire for semiautomatic firearms. One such device consists of the
 following components: two metal blocks; the first block replaces the original
 manufacturer’s V-Block of a Ruger 10/22 rifle and has attached two rods approximately
 ¼ inch in diameter and approximately 6 inches in length; the second block,
 approximately 3 inches long, 1 ⅜ inches wide, and ¾ inch high, has been machined to
 allow the two guide rods of the first block to pass through. The second block supports
 the guide rods and attaches to the stock. Using ¼ inch rods, metal washers, rubber and
 metal bushings, two collars with set screws, one coiled spring, C-clamps, and a split ring,
 the two blocks are assembled together with the composite stock. As attached to the
 firearm, the device permits the entire firearm (receiver and all its firing components) to
 recoil a short distance within the stock when fired. A shooter pulls the trigger which
 causes the firearm to discharge. As the firearm moves rearward in the composite stock,
 the shooter’s trigger finger contacts the stock. The trigger mechanically resets, and the
 device, which has a coiled spring located forward of the firearm receiver, is compressed.
 Energy from this spring subsequently drives the firearm forward into its normal firing
 position and, in turn, causes the trigger to contact the shooter’s trigger finger. Provided
 the shooter maintains finger pressure against the stock, the weapon will fire repeatedly
 until the ammunition is exhausted or the finger is removed. The assembled device is
 advertised to fire approximately 650 rounds per minute. Live-fire testing of this device
 demonstrated that a single pull of the trigger initiates an automatic firing cycle which
 continues until the finger is released or the ammunition supply is exhausted.

 As noted above, a part or parts designed and intended to convert a weapon into a
 machinegun, i.e., a weapon that will shoot automatically more than one shot, without
 manual reloading, by a single function of the trigger, is a machinegun under the NFA and
 GCA. ATF has determined that the device constitutes a machinegun under the NFA and
 GCA. This determination is consistent with the legislative history of the National
 Firearms Act in which the drafters equated “single function of the trigger” with “single
 pull of the trigger.” See, e.g., National Firearms Act: Hearings Before the Comm. on
 Ways and Means, House of Representatives, Second Session on H.R. 9066, 73rd Cong., at
 40 (1934). Accordingly, conversion parts that, when installed in a semiautomatic rifle,
 result in a weapon that shoots more than one shot, without manual reloading, by a single
 pull of the trigger, are a machinegun as defined in the National Firearms Act and the Gun
 Control Act.

       Held, a device (consisting of a block replacing the original manufacturer’s V-Block
 of a Ruger 10/22 rifle with two attached rods approximately ¼ inch in diameter and
 approximately 6 inches in length; a second block, approximately 3 inches long, 1 ⅜
 inches wide, and ¾ inch high, machined to allow the two guide rods of the first block to
 pass through; the second block supporting the guide rods and attached to the stock; using
 ¼ inch rods; metal washers; rubber and metal bushings; two collars with set screws; one
 coiled spring; C-clamps; a split ring; the two blocks assembled together with the



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 composite stock) that is designed to attach to a firearm and, when activated by a single
 pull of the trigger, initiates an automatic firing cycle that continues until either the finger
 is released or the ammunition supply is exhausted, is a machinegun under the National
 Firearms Act, 26 U.S.C. 5845(b), and the Gun Control Act, 18 U.S.C. 921(a)(23).

      Held further, manufacture and distribution of any device described in this ruling
 must comply with all provisions of the NFA and the GCA, including 18 U.S.C. 922(o).

 To the extent that previous ATF rulings are inconsistent with this determination, they are
 hereby overruled.


 Date approved: December 13, 2006




 Michael J. Sullivan
 Director




                                             Exhibit A
